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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


MARSHALL THOMAS, III                   )
                                       )
                Plaintiff,             )
       v.                              )               CIVIL ACTION
                                       )               NO. 19-10645-PBS
SELECT PORTFOLIO SERVICING,            )
INC., et al.                           )
                                       )
                Defendants.            )


                                      SCHEDULING ORDER

       Following an initial scheduling conference held on July 11, 2019 in accordance with Fed.

R. Civ. P. 16(b) and Local Rule 16.1, it is hereby ORDERED as follows:

       1.       The parties shall complete their initial disclosures, pursuant to Fed. R. Civ. P.

26(a)(1) and Local Rule 26.2(A), by July 23, 2019.

       2.       The court otherwise adopts the following deadlines proposed by the parties in

their Second Joint Statement (Docket No. 16):

                (a)     The parties shall complete written discovery and depositions by

       November 29, 2019.

                (b)     At present, the parties do not expect to use expert witnesses in this

       matter. However, if either party decides that expert testimony is necessary, they will

       inform the court at the close of fact discovery so that appropriate deadlines may be set.

                (c)     The parties shall file any dispositive motions by January 31, 2020. Any

       opposition shall be filed within 21 days from service of the motion; and any reply shall

       be filed within 14 days from service of the opposition.
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                (d)    Any concise statement of material facts that is filed pursuant to Local

       Rule 56.1 in opposition to a motion for summary judgment shall include numbered

       paragraphs admitting or denying, paragraph by paragraph, the facts contained in the

       moving party’s concise statement of material facts.

       3.       As part of any L.R. 7.1 consultation in connection with any issue to be brought to

the court’s attention, the parties shall discuss and try to reach an agreement as to the

appropriate way to bring the dispute to the attention of the court, including whether full

briefing and/or in-person oral argument is necessary. The parties shall notify the court of their

proposal as to how best to proceed.

       4.       The next status conference is scheduled for November 5, 2019 at 10:00 AM in

Courtroom #15 on the 5th floor. At that time, the parties shall be prepared to discuss:

                (a)    the status of the case;
                (b)    scheduling for the remainder of the case through trial;
                (c)    use of alternative dispute resolution programs; and
                (d)    consent to trial before the Magistrate Judge.

       5.       The parties shall submit a brief joint statement no later than three (3) business

days before the conference addressing the issues itemized in paragraph 4 above. With respect

to the use of ADR or having the matter tried by a Magistrate Judge, the parties shall indicate

whether an agreement has been reached, but shall not identify their respective positions.



                                                      / s / Judith Gail Dein
                                                      Judith Gail Dein
                                                      United States Magistrate Judge
DATED: July 11, 2019




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